 Case 8:03-cr-00054-CEH Document 395 Filed 10/20/08 Page 1 of 1 PageID 2267




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,

v.                                              Case No. 8:03-CR-54-T-17TBM

LESLIE BARNES,

      Defendant,


      and


GEVITY HR XII CORPORATION,


      Gamishee.


                ORDER GRANTING UNITED STATES OF AMERICA'S
            MOTION TO DISSOLVE WRIT OF CONTINUING GARNISHMENT


      THIS CAUSE came on for consideration upon the United States of America's

Motion to Dissolve Writ of Continuing Garnishment issued to Gevity HR XII Corporation.

The Court, having reviewed the Motion, finds that it is well taken and due to be granted.

      Accordingly, it is

      ORDERED, ADJUDGED, AND DECREED that the United States of America's

Motion to Dissolve Writ of Continuing Garnishment is granted. It is further

      ORDERED, ADJUDGED, AND DECREED that the Writ of Continuing

Garnishment issued to Gevity HR XII Corporation is hereby dissolved and is of no

further legal consequence.

       DONE AND ORDERED at Tampa, Florida, on
